Case:17-03283-LTS Doc#:12357 Filed:03/16/20 Entered:03/16/20 12:27:50                                       Desc: Main
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                                                                     Estimated Hearing Date: TBD at 9:30 a.m. AST
                                                                   Objection Deadline: April 6, 2020 at 4:00 p.m. AST

                                     UNITED STATES DISTRICT COURT
                                       DISTRICT OF PUERTO RICO

       In re                                                                        PROMESA
                                                                                    Title III
       THE FINANCIAL OVERSIGHT AND
       MANAGEMENT BOARD FOR PUERTO RICO,                                            No. 17-BK-03283 (LTS)
                             as representative of                                   (Jointly Administered)
       THE COMMONWEALTH OF PUERTO RICO, et al.,

                                                    Debtors.1

             NOTICE OF FILING OF EIGHTH INTERIM APPLICATION OF
            LUSKIN, STERN & EISLER LLP, AS SPECIAL COUNSEL TO THE
       FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO
      FOR PROFESSIONAL COMPENSATION AND REIMBURSEMENT OF EXPENSES
        FOR THE PERIOD FROM OCTOBER 1, 2019 THROUGH JANUARY 31, 2020

                      PLEASE TAKE NOTICE that on March 16, 2020, pursuant to this Court’s

  Second Amended Order Setting Procedures for Interim Compensation and Reimbursement of

  Expenses of Professionals [Docket No. 3269] (the “Interim Compensation Order”), Luskin, Stern

  & Eisler LLP, as Special Counsel to the Financial Oversight and Management Board for Puerto

  Rico, filed the Eighth Interim Application of Luskin, Stern & Eisler LLP, as Special Conflicts

  Counsel to the Financial Oversight and Management Board for Puerto Rico for Professional

  Compensation and Reimbursement of Expenses, for the Period from October 1, 2019 through

  January 31, 2020 (the “Application”).2



  1
    The Debtors in these jointly-administered Title III Cases, along with each Debtor’s respective Title III case number
  listed as a bankruptcy case number due to software limitations and the last four (4) digits of each Debtor’s federal
  tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK
  3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
  (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Employees
  Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK
  3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (iv) Puerto Rico Highways and Transportation Authority
  (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) Last Four Digits of Federal Tax ID: 3808); and (v) Puerto Rico
  Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal Tax ID:
  3747).
  2
      Capitalized terms used but not defined herein have the meanings given to them in the Application.
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                PLEASE TAKE FURTHER NOTICE that any response or objection to the

  Application by any party other than the Fee Examiner must (a) be in writing, (b) conform to the

  Federal Rules of Bankruptcy Procedure, the Interim Compensation Order, and the Eleventh

  Amended Notice, Case Management and Administrative Procedures [Docket No. 11885]

  (the “Case Management Procedures”), and (c) be filed with the Court and served on the entities

  below, so as to be received on or before April 6, 2020 at 4:00 p.m. (AST) (the “Objection

  Deadline”):

                (a) the Office of the United States Trustee for Region 21, Edificio Ochoa,

                    500 Tanca Street, Suite 301, San Juan, Puerto Rico 00901;

                (b) the attorneys for the Financial Oversight and Management Board for Puerto

                    Rico as representative of the Debtors, Proskauer Rose LLP, Eleven Times

                    Square, New York, New York 10036, Attn: Martin J. Bienenstock, Esq., Paul

                    V. Possinger, Esq., Ehud Barak, Esq., and Maja Zerjal, Esq.;

                (c) the attorneys for the Financial Oversight and Management Board as

                    representative of Debtors, O’Neill & Borges LLC, 250 Muñoz Rivera

                    Avenue, Suite 800, San Juan, Puerto Rico 00918-1813, Attn: Hermann D.

                    Bauer, Esq.;

                (d) the attorneys for the Puerto Rico Fiscal Agency and Financial Advisory

                    Authority, O’Melveny & Meyers LLP, Times Square Tower, 7 Times Square,

                    New York, New York 10036, Attn: John J. Rapisardi, Esq., Suzzanne

                    Uhland, Esq., Peter Friedman, Esq., Nancy A. Mitchell, Esq. and Maria J.

                    DiConza, Esq.;

                (e) the attorneys for the Puerto Rico Fiscal Agency and Financial Advisory

                    Authority, Marini Pietrantoni Muñiz, LLC, MCS Plaza, Suite 500, 255

                                                 2
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                Avenida Ponce de León, San Juan, Puerto Rico 00917, Attn: Luis C. Marini-

                Biaggi, Esq., Carolina Velaz-Rivero, Esq., and Iván Garau-González, Esq.;

             (f) the attorneys for the Official Committee of Unsecured Creditors,

                Paul Hastings LLP, 200 Park Avenue, New York, New York 10166, Attn: Luc

                A. Despins, Esq., James Bliss, Esq., James Worthington, Esq. and G.

                Alexander Bongartz, Esq.;

             (g) the attorneys for the Official Committee of Unsecured Creditors, Casillas,

                Santiago & Torres LLC, El Caribe Office Building, 53 Palmeras Street, Suite

                1601, San Juan, Puerto Rico 009001, Attn: Juan J. Casillas Ayala, Esq., Diana

                M. Battle-Barasorda, Alberto J.E. Añeses Negrón, Esq. and Ericka C.

                Montull-Novoa, Esq.;

             (h) the attorneys for the Official Committee of Retired Employees, Jenner &

                Block LLP, 919 Third Avenue, New York, New York 10022, Attn: Robert

                Gordon, Esq. and Richard Levin, Esq., and Catherine Steege, Esq.;

             (i) the attorneys for the Official Committee of Retired Employees, Bennazar,

                García & Milián, C.S.P., Edificio Union Plaza, PH-A, 416 Avenida Ponce de

                León, Hato Rey, Puerto Rico 00918, Attn: A.J. Bennazar-Zequeira, Esq.;

             (j) the Puerto Rico Department of Treasury, P.O. Box 9024140, San Juan, Puerto

                Rico 00902-4140, Attn: Reylam Guerra Goderich, Deputy Assistant of

                Central Accounting; Omar E. Rodríguez Pérez, CPA, Assistant Secretary of

                Central Accounting; Angel L. Pantoja Rodríguez, Deputy Assistant Secretary

                of Internal Revenue and Tax Policy; Francisco Parés Alicea, Assistant

                Secretary of Internal Revenue and Tax Policy; and Francisco Peña Montañez,

                CPA, Assistant Secretary of the Treasury;

                                              3
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                 (k) attorneys for the Fee Examiner, Edge Legal Strategies, PSC, 252 Ponce de

                     León Avenue, Citibank Tower, 12th Floor, San Juan, Puerto Rico 00918,

                     Attn: Eyck O. Lugo; and

                 (l) attorneys for the Fee Examiner, Godfrey & Kahn, S.C., One East Main Street,

                     Suite 500, Madison, Wisconsin 53703, Attn: Katherine Stadler, Esq.

                 PLEASE TAKE FURTHER NOTICE that if (a) no objection is timely filed and

  served in accordance with the Interim Compensation Order and Case Management Procedures

  and (b) all issues raised by the Fee Examiner are consensually resolved, the relief requested may

  be granted without a hearing.

                 PLEASE TAKE FURTHER NOTICE that copies of the Application and all

  documents filed in these title III cases are available (a) free of charge by visiting

  https://cases.primeclerk.com/puertorico or by calling +1 (844) 822-9231, and (b) on the Court’s

  website at http://www.prd.uscourts.gov, subject to the procedures and fees set forth therein.

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  Dated: New York, New York                 Respectfully submitted,
         March 16, 2020

                                            /s/ Michael Luskin
                                            Michael Luskin (admitted pro hac vice)
                                            Lucia T. Chapman (admitted pro hac vice)
                                            Stephan E. Hornung (admitted pro hac vice)

                                            LUSKIN, STERN & EISLER LLP
                                            Eleven Times Square
                                            New York, New York 10036
                                            Telephone: (212) 597-8200
                                            Facsimile: (212) 974-3205
                                            luskin@lsellp.com
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                                            hornung@lsellp.com

                                            Special Counsel to the Financial Oversight and
                                            Management Board for Puerto Rico


                                            /s/ Hermann D. Bauer
                                            Hermann D. Bauer
                                            USDC No. 215205

                                            O’NEILL & BORGES LLC
                                            250 Muñoz Rivera Ave., Suite 800
                                            San Juan, Puerto Rico 00918-1813
                                            Telephone: (787) 764-8181
                                            Facsimile: (787) 753-8944

                                            Co-Attorneys for the Financial Oversight and
                                            Management Board for Puerto Rico




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